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[Dodsmdef] [District Order Dismissing for Deficiencies]




                                            ORDERED.
Dated: August 20, 2024




                                     UNITED STATES BANKRUPTCY COURT
                                        MIDDLE DISTRICT OF FLORIDA
                                             ORLANDO DIVISION
                                             www.flmb.uscourts.gov



In re:                                                                              Case No.
                                                                                    6:24−bk−03843−LVV
                                                                                    Chapter 7

Chaim Levilev




                     Debtor*                        /

                                             ORDER DISMISSING CASE


   THIS CASE came on for consideration upon the Court's own motion. The Debtor has failed to file or
correct deficiencies in the item(s) indicated below by August 17, 2024. The Court advised the Debtor of these
requirements in either a Notice of Deficient Filing or by separate notice or order of the Court.

         Full filing fee not paid.

         Failure to file any or all Schedules A−J as required.

   Accordingly, it is ORDERED:

1. The case is dismissed without prejudice and without a discharge effective on the 15th day from entry of this
Order.

2. If the automatic stay imposed by 11 U.S.C. § 362(a) or § 1301 is in effect at the time this Order is entered,
then, notwithstanding the provisions of 11 U.S.C. § 362(c)(2)(B), the Court extends the automatic stay for 14
days from the date of this Order.

3. If Debtor files a motion to vacate or for reconsideration of this Order within 14 days of the date of this
Order, and the automatic stay imposed by 11 U.S.C. § 362(a) or § 1301 is in effect when this Order is entered,
the automatic stay shall remain in full force and effect until the Court rules on the Debtor's motion.

4. All pending motions are denied and all pending hearings are canceled except for the following, over which
the Court retains jurisdiction: (a) motions for relief from stay that (i) are scheduled for hearing within 14 days
of the date of this Order, or (ii) request an order binding upon the debtor in subsequently filed cases; and (b)
any pending order to show cause.

5. The Trustee is discharged from any further duties.
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6. The Debtor shall immediately pay, to the Clerk, U.S. Bankruptcy Court, by cashier's check or money order,
for the balance of the filing fee as required by 28 U.S.C. § 1930, unpaid filing fees in the amount of $ 338.00



Clerk's Office is directed to serve a copy of this Order on interested parties.
*All references to "Debtor" shall include and refer to both of the debtors in a case filed jointly by two individuals.
